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                                                                                                                                                              IN THE CIRCUIT COURT OF THE
                                                                                                                                                              NINTH JUDICIAL CIRCUIT, IN AND
                                                                                                                                                              FOR ORANGE COUNTY, FLORIDA

                                                                                                    EXPPHA, LLC f/k/a PREFERRED
                                                                                                    PHYSICIANS HEALTHCARE
                                                                                                    ALLIANCE, L.C.,
                                                                                                                                                              CASE NO. 2012-CA-018580-O
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                                                                                                                    Plaintiff,

                                                                                                    vs.

                                                                                                    KEPRO ACQUISITIONS, INC.,

                                                                                                                    Defendant.


                                                                                                                                                  SUMMONS

                                                                                                    THE STATE OF FLORIDA:

                                                                                                    To all and singular sheriffs of said state:

                                                                                                             YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint
                                                                                                    or Petition, Interrogatories, Request for Production and Request for Admissions in the above-styled
                                                                                                    cause upon the Defendant:

                                                                                                                               KEPRO ACQUISITIONS, INC.
                                                                                                                   c/o CORPORATION SERVICE COMPANY as Registered Agent
                                                                                                                                   1201 HAYS STREET
                                                                                                                               TALLAHASSEE FL 32301-2525

                                                                                                            Each Defendant is hereby required to serve written defenses to said Complaint or Petition
                                                                                                    on TUCKER H. BYRD, ESQ., Plaintiff’s attorney whose address is Morgan & Morgan, P.A.,
                                                                                                    20 North Orange Avenue, Suite 1500, P.O. Box 4979, Orlando, Florida 32802-4979,
                                                                                                    Telephone: (407) 420-1414, within twenty (20) days after service of this Summons upon you,
                                                                                                    exclusive of the day of service, and to file the original of said written defenses with the Clerk of
                                                                                                    said Court either before service on Plaintiff's attorney or immediately thereafter. If you fail to do
                                                                                                    so, a default will be entered against you for the relief demanded in the Complaint or Petition.
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        REQUESTS FOR ACCOMMODATIONS BY PERSONS WITH
                        DISABILITIES

        If you are a person with a disability who needs any accommodation in order
 to participate in this proceeding, you are entitled, at no cost to you, to the provision
 of certain assistance. Please contact the ADA Coordinator, Human Resources,
 ORANGE COUNTY COURTHOUSE, 425 N. ORANGE AVENUE, SUITE
 510, ORLANDO, FLORIDA, (407) 836-2303, at least 7 days before your
 scheduled court appearance, or immediately upon receiving this notification if the
 time before the scheduled appearance is less than 7 days; if you are hearing or voice
 impaired, call 711.

                                                                      LYDIA GARDNER
                                                                       Clerk of the Court



                                                       By: __________________________
                                                                        As Deputy Clerk
                                                           425 N Orange Avenue, RM 310
                                                                  Orlando, Florida 32801




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